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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

      NEW VISION HOTELS TWO, LLC,                   )
                                                    )
                         Plaintiff,                 )
                                                    )
                            v.                      )           No. 15-cv-00350-MSK-MJW
                                                    )
       MEDICAL MARIJUANA OF THE                     )
           ROCKIES, LLC, et al.,                    )
                                                    )
                    Defendants                      )
                                                    )

                             ADDITIONAL LIST OF UNDISPUTED FACTS

          Pursuant to paragraph 4 of this Court’s Scheduling Order of June 10, 2015 [#74], the

  parties submit this list of additional undisputed facts. The parties agree and stipulate to the

  following facts for purposes of this action only. Although the parties agree that these facts are

  undisputed, they do not necessarily agree that all of the facts identified below are relevant to the

  issues in this case.

                   Stipulations relating to Plaintiff New Vision Hotels Two, LLC

   1. Plaintiff New Vision Hotels Two, LLC (“New Vision Hotels”) hosted at least two different

      marijuana clinics in its conference rooms on multiple occasions and as recently as March

      2014.

   2. New Vision Hotels knew at the time that it contracted with the marijuana clinics that the

      purpose of the marijuana clinics’ meetings was for people to receive recommendations from

      physicians to use marijuana.

   3. The marijuana clinics posted signs outside the hotel advertising their services in the hotel.

   4. New Vision Hotels received payment from the marijuana clinics to conduct operations at the

      hotel.

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   Date: October 6, 2015



                                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 6, 2015, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system, which will send notification of such filing to attorneys

  for all parties in this case.


                                                                        s/ Colin Ray
                                                                        Colin Ray




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